Case 2:22-cv-14129-KMM Document 8 Entered on FLSD Docket 04/07/2022 Page 1 of 15




                                  UNITED ST ATES DISTRICT COURT
                                  SOUTHERN DISTRICT OF FLORIDA




   UNITED ST A TES SECURITIES AND
   EXCHANGE COMMISSION,

                     Plaintiff,

                V.
                                                                                  ANGELA E. NOBLE
                                                                                 CLERK U.S. DIST. CT.
   MCC INTERNATIONAL CORP. (DBA                                                  S.D. OF FLA. - WP.B.
   "MINING CAPITAL COIN CORP.,"),
   CPTLCOIN CORP., BITCHAIN
   EXCHANGES, LUIZ CARLOS CAPUCI,
   JR. (AKA "JUNIOR CAPUTTI"), and
   EMERSON SOUSA PIRES,

                     Defendants.
   - - - - - - - - - - - - - - - -I


                                     CASE FILED UNDER SEAL

      DECLARATION OF STEVEN TREMAGLJO IN SUPPORT OF PLAINTIFF'S
   EX PARTE EMERGENCY MOTION FOR A TEMPORARY RESTRAINING ORDER
                              AND ORDER FOR ANCILLARY RELIEF

     I, Steven Tremaglio, declare under penalty of perjury, in accordance with 28 U .S.C. § 1746,

  as follows:

  1. This declaration is submitted in support of Plaintiff United States Securities and Exchange

     Commission ' s ("SEC" or "Commission") Ex Parle Emergency Motion for a Temporary

     Restraining Order and Order for Ancillary Relief.

  2. I am employed as a Staff Accountant in the Division of Enforcement by the SEC ' s Chicago

     Regional Office, located at 175 West Jackson Boulevard, Suite 1450, Chicago, Illinois

     60604. I have been employed by the Commission since September 2021 . Prior to my
Case 2:22-cv-14129-KMM Document 8 Entered on FLSD Docket 04/07/2022 Page 2 of 15




        employment with the SEC, I was employed for over 6 years as an auditor with the U.S .

        Attorney' s Office in Chicago. Prior to that I was employed for over 10 years as an auditor

        and accountant in the private sector. I received a Bachelor of Science from the University of

        Iowa and a Master' s of Business Administration from Loyola University Chicago. I am a

        Certified Internal Auditor and Certified Fraud Examiner in good standing in the state of

        Illinois.

  3. My duties with the Commission include part icipating in fact-finding inquiries and

        investigations to determine whether the federal securities laws have been , are presently, or

        are about to be violated, and assisting in the Commission's litigation of securities laws

        violations. As part of my job, I routinely obtain and analyze bank records, brokerage records,

        and other financial records typically maintained at financial institutions. I also review

        documents gathered in the course of an investigation, including, but not limited to, internal

        company financial records, communications, agreements, marketing materials, tax records,

        and documents regarding the structure of a company.

  Materials Reviewed

  4. I have participated in the Commission ' s investigation captioned In the Matter of Mining

        Capital Coin , C-08791 (the "Investigation") and as described below, reviewed documents. In

        connection with the Investigation, I have reviewed the following records obtained from

        approximately January 1, 2018 through March 18, 2022 1:

            a) Coin base account records of Luiz Carlos Capuci , Jr. ("Capu ci"), Capuci 's spouse
               (Stephanie Cassia Capuci (fka "Stephanie Cassia Lira")) (hereinafter " Stephanie
               Lira"), and Emerson Pires ("Pires") , including thirteen ( 13) Coinbase accounts which
               records included, but were not limited to: account and transaction summary, customer
               service communications;



  1
      All dates and values in this Declaration are approximate.
                                                      2
Case 2:22-cv-14129-KMM Document 8 Entered on FLSD Docket 04/07/2022 Page 3 of 15




         b) PayPal account records of Ca pu ci , Stephanie Lira, and Pires, including twenty two
            (22) PayPal accounts which records included, but were not limited to: account
            opening documents, activity log, and transaction log; and

         c) Certain real estate records relating to Capuci and Stephanie Lira, which records
            included, but were not limited to: Osceo la County Property Appraiser report, Osceola
            County Tax Collector assessment, closing documents, mortgage loan documents,
            emails, and tax documents.

  5. The following chart identifies the Coin base and Paypal accounts of Capuci and Pires that I

     have reviewed. Based upon my analysis , including my review of the account opening

     documents, it is m y understanding that the accounts referenced below belong to Capu ci or

     Pires :

       Financial Institution            Account Number                    Account Holder
   Coinbase                        5c3ee702d9e8f214b90f4542        Luiz Capuci
   Coin base                       5f76al 7daf53320f65966612       Luiz Capuci
   Coinbase                        582e7ae96c7d4a04494b4c2b        Luiz Capuci
   Coinbase                        582e5a16a20c7500a5f1295f        Luiz Capuci , Jr.
   Coinbase                        5f7284cfa69a8c 1664 75e646      Lui z Capuci, Jr.
   Coinbase                        59773cefD3c493022463ca2d        Luiz Capuci, Jr.
   Coinbase                        5d83ad54d8f6d409b496blfD        Stephanie Cassia Lira
   Coinbase                        5d4fbc7036659fD91788403e        Stephanie Lira
   Coinbase                        5f76a126fl c0110b4a037a3 0      Stephanie Lira
   Coinbase                        5b58f9680117d80d2da7e345        Emerson Pires
   Coinbase                        5b7971d9d3c53a01732768ab        Emerson Pires
   Coinbase                        5e3370c33092a236432f8dd9        Emerson S. Pires
   Coinbase                        6179a75b628 1bal43099b031       Empires X
   PayPal                          2026230709045668719             JK Gas Stations Service
                                                                   Corp.
   PayPal                          1775227896 192699299            Hitech Commerce & Logist
                                                                   Com.
  PayPal                          2275447786443301866              Luiz Capuci
  PayPal                          160978 11 85 341193048           Luiz Capuci
  PayPal                          1610992374879326858              Luiz Capuci
  PayPal                          1188611327400422744              Luiz Capuci, Jr.
  PayPal                          1696965128244791838              Luiz Capuci
  PayPal                          1768067606323 149048             Mining Capital Coin Corp.
  PayPal                          2015780136670639577              United General Construction
                                                                   LLC

                                                 3
Case 2:22-cv-14129-KMM Document 8 Entered on FLSD Docket 04/07/2022 Page 4 of 15




       Financial Institution            Account Number                   Account Holder
   PayPal                          1481065216576567812             Mining Capital Coin Corp.
   PayPal                          1711008870934663857             SL Trustee Corp
   PayPal                          1444017275496579535             Empires X Corp
   PayPal                          1222404808317695965             Emerson Pires
   PayPal                          1371518619089674442             Emerson Pires
   PayPal                          1730002326791661745             Emerson Pires
   PayPal                          1730910525837085920             Emerson Pires
   PayPal                          1944523656847805838             Emerson Pires
   PayPal                          2032089684451133750             E&J Granite
   PayPal                          XOOM 8944694                    Emerson Pires
   PayPal                          Venrno 35105639                 Emerson Pires
   PayPal                          Venrno 69924343                 Emerson Pires
   PayPal                          Venmo 95675779                  Emerson Pires


  6. The following chart identifies the bank records of Capuci and Pires that I have reviewed.

     Based upon information gathered in this Investigation, it is my understanding that the

     accounts listed below belong to Capuci or Pires :

   Financial Institution      Account Name              Account Number       Account Holder
   Citibank                Hi Tech Commerce           9147928352           Luiz C. Capuci, Jr.
                           & Logistic Corp.
   Wells Fargo Bank        Stephanie Lira and         6598362942           Stephanie Lira and
                           Luiz C. Capuci , Jr.                            Luiz C. Capuci, Jr.
   JP Morgan Chase         Hi Tech Commerce           296202093            Luiz C. Capuci, Jr.
   Bank                    & Logistic Corp.
   Wells Fargo Bank        Bittech Global Corp.       8106257663           Luiz C. Capuci, Jr.
   Wells Fargo Bank        Conde Jackson USA          8106257622           Luiz C. Capuci, Jr.
                           Corp
   PNC Bank, NA            Luiz C. Capuci, Jr.        1244409325           Luiz Capuci
   Citibank                SL Trustee Corp.           9148924766           Luiz Capuci
   Wells Fargo Bank        SL Trustee Corp.           8106257671           Stephanie C. Lira,
                                                                           and Luiz C. Capuci,
                                                                           Jr.
  JPMorgan Chase           E&J Granite Install        895151665            Enoque J. Pires;
  Bank                     LLC                                             Emerson S. Pires;
                                                                           Enoque J. Pires, Jr.
  Wells Fargo Bank         Emerson S. Pires and       7994478266           Emerson S. Pires and
                           Camilla Rebelo Pinto                            Camilla Rebelo Pinto



                                                  4
Case 2:22-cv-14129-KMM Document 8 Entered on FLSD Docket 04/07/2022 Page 5 of 15




   Financial Institution        Account Name             Account Number       Account Holder
   Suncoast Credit            Emerson Pires            66419410000          Emerson Pires
   Union
   PNC Bank (BBV A)           Emerson Pires            1271341434 (2973)    Emerson Pires
   Stride Bank, N.A.          Emerson Pires            248144471518         Emerson Pires
   Bank of America,           Empires X Corp.          229059117903         Emerson Pires
   N.A.
   Bank of America ,          Empires Consulting       898111452267         Emerson Pires
   N.A.                       Group.
   PNC Bank, N.A.             Empires X Corp.          1228427144           Emerson Pires
   Wells Fargo Bank           Empires X Corp.          8435623528           Emerson Pires


  7. Based upon m y participation in this Investigation , I am aware that Capuci and Pires invoked

     their Fifth Amendment right against self-incrimination and have not produced information to

     the SEC regarding their digital wallet infonnation and all bank accounts in response to SEC

     subpoenas. I am further aware that MCC International Corp. (dba "Mining Capital Coin

     Corp.") ("MCC") has not provided the Commission with any financial statements, balance

     sheets, cash flow statements, tax returns or any other books and records to reflect sources of

     revenue for an y legitimate business operations, all of which the SEC requested. Nor has

     MCC provided the Commission with complete investor information and financial account

     information that would enable Commission Staff to conduct a full tracing of investor funds ,

     which the Commission also requested during its investigation.

  8. I am also aware that this is the second investigation of MCC, Capuci, and Pires . The first

     investigation, In the Matter of Mining Capital Coin International Corp. (C-08623) ("First

     Investigation"), took place prior to my joining the Commission. I have reviewed the

     testimony transcripts of Capu ci and Pires in the First Investigation, both of whom provided

     separate sworn testimony on February 18, 2020. Among other things, Capuci and Pires

     testified as follows :




                                                   5
Case 2:22-cv-14129-KMM Document 8 Entered on FLSD Docket 04/07/2022 Page 6 of 15




                 a) Their MCC salaries were deposited into their personal digital wallets.
                    (Capuci 2/18/20 C-08623 Testimony Transcript (hereinafter "Capuci Tr.") at
                    37:1-9; Pires 2/18/20 C-08623 Testimony Transcript (hereinafter "Pires Tr.")
                    at 52:1-12);

                 b) Their salaries ranged from $5,000 to $20,000 in BTC per month (per
                    individual), and that they sold the BTC through crypto asset trading platforms,
                    such as Coinbase, Inc. ("Coinbase"). (Capuci Tr. at 17:21-25; Pires Tr. at
                    51:7-19);

                 c) MCC was Capuci's only source of income. (Capuci Tr. at 74: 14-23); and

                 d) Capuci used an online payment platform, such as PayPal , Inc. ("PayPal") to
                    immediately withdraw money from his Coin base account in lieu of a Coinbase
                    transfer, which would have taken one to two weeks to withdraw the funds .
                    (Capuci Tr. at 41: 15-25 and 42: I).

  Background on Coinbase

  9. Based upon my participation in this Investigation and correspondence with Coinbase, it is my

      understanding that Coinbase is a crypto asset trading platform that provides account holders a

      means to trade crypto assets, including, but not limited to, Bitcoin ("BTC"), Ethereum

      ("ETH"), Tether ("USDT"), among others. It is my understanding that each Coinbase

      transaction has a hash ID 2 that confirms the transaction has been verified and added to the

      blockchain. 3 Coin base accounts can be funded with both cash and crypto assets and linked to

      external financial accounts to where fund s can be transferred. Coinbase maintains records of

      user accounts that reflect, among other things, the name on the account, associated email

      address(es), phone number(s), billing address(es), linked bank account(s), BTC and ETH

      wallet information, and transaction infonnation (i.e., receive, buy, sell, withdraw).




  2
   Hash IDs are explained in this Coinbase article found here:
  https: //help.coinbase.com/en/pro/getting-started/general-crypto-education/what-is-a-transaction-
  hash-hash-id .
  3
   The blockchain is explained in this Coinbase article found here:
  https: //www.coinbase.com/learn/crypto-basics/what-is-a-blockchain.
                                                   6
Case 2:22-cv-14129-KMM Document 8 Entered on FLSD Docket 04/07/2022 Page 7 of 15




  10. Based upon correspondence and discussions with a representative of Coin base, it is my

     understanding that Co in base is unable to identify and provide account information of the

     source that has transferred crypto assets into the wallet of a Co inbase user unless that source

     is another Coinbase wallet. For this reason, it is difficult to determine whether all crypto

     assets recei ved by the Coin base wall ets of Capuci and Pires came from investors .

  11. In this Investigation, I reviewed Coin base account records of Capuci and Pires . These

     records reflect when crypto assets were received in their accounts, when the crypto assets

     were sold for cash, and when the cash was transferred to li nked financ ial accounts. I

     observed that accounts belonging to Capuci and Pires received BTC, ETH, and USDT. I

     also observed that after Capuci and Pires received crypto assets in their Coinbase accounts,

     they generally immedi ately transacted with those crypto assets as described below.

  12. The Coin base account records of Capuci and Pires reflected the values of the crypto assets

     at the time they were recei ved and sold. Therefore, I observed the value of crypto assets

     deposited into their accounts as well as the amount of cash they transferred to linked

     financial accounts, including PayPal and bank accounts.

  Summary of Coin base and PayPal Activity

  13 . Based upon m y participation in this Investigation and review ofrecords, I created Exhibit

     57, attached hereto, which is a Combined Net Sources and Uses chart reflecting the account

     activity in the Coinbase and PayPa] accounts of Capuci and Pires .

  14. Exhibit 57 summarizes activity from January 1, 20 18 through March 18, 2022, during which

     time Capuci and Pires co llecti vely received approximately $21 million in their Coinbase

     accounts that have been identified. In particular,

                a) Capuci received $ 18.5 million in crypto assets in the Coinbase accounts that
                   have been identified; and


                                                   7
Case 2:22-cv-14129-KMM Document 8 Entered on FLSD Docket 04/07/2022 Page 8 of 15




                 b) Pires received $3.3 milli on in crypto assets in the Coinbase accounts that have
                    been identified.

  15. From their Coinbase accounts, and as reflected in Exhibit 57 :

                 a) Capuci transferred approximately:

                      1.   $ 10.9 million worth of crypto assets to dozens of other digital wallets;
                     11.   $4. 5 million to six (6) different bank accounts; and
                    111.   $2.9 million to two (2) different PayPal accounts.

                 b) Pires transferred approximately:

                      1.   $ 1.2 million worth of crypto assets to dozens of other digital wallets;
                     11.   $ 1.3 million to two (2) different PayPal accounts; and
                    111.   $245 , 134.02 to four (4) different bank accounts.

  I 6. In their PayPal accounts, and as refl ected in Ex hibit 57:

                 a) Capuci received:

                      1.   $2.9 million from his Coinbase account;
                     11.   $41 ,006.13 from other sources, including bank accounts, credit cards,
                           investors, and cash.

                 b) Pires received:

                      1.   $ 1.3 mi Ilion from Co inbase; and
                     11.   $ 102,418.82 from other sources, including bank accounts, credit cards,
                           investors, and cash.

  I 7. From their PayPal accounts, and as reflected in Exhibit 57:

                 a) Capuci transferred $2.8 million to seven (7) di fferent bank accounts; and
                 b) Pires transferred $490,571 .77 to nine (9) different bank accounts.

  18. For purposes of assessing whether MCC investors were the source of any such deposits into

     financ ial accounts of which Capuci or Pires were authori zed signers, I relied upon the names

     identified in the MCC Investor List (Bates No. MCC CAPUCI 000100-000100), which I

     understand was produced by counsel for Capuci and MCC on October 14, 2021.




                                                     8
Case 2:22-cv-14129-KMM Document 8 Entered on FLSD Docket 04/07/2022 Page 9 of 15




  19. Based upon my review of the records, it appears that once Capuci and Pires funded their

     bank accounts with fund s from Coinbase and PayPal, they each spent such fund s on various

     items as set forth in the declaration of my colleague, SEC Accountant Larry Brannon (which

     is attached as Exhibit A to the Memorandum in Support of Plaintiff' s Ex Parte Motion for a

     Temporary Restraining Order and Emergency Ancillary Relief).



  Capuci Coinbase Accounts

  20. Based upon my review of the Coi n base records, I observed that Capuci opened six (6)

     Coinbase accounts in hi s name. In addition, from May 27, 20 19 through February 2, 2022,

     Capuci received crypto assets (i.e. , BTC, ETH, and USDT) totaling $18,599,896.55 , which I

     have summarized in Exhibit 58.

  2 1. According to my review of the Coin base records, it appears that from his Coinbase accounts,

     Capuci transferred a total of $ 10,936,345.34 to other digital wallet addresses, which I have

     summarized in Ex hibit 59 .

  22. According to my review of the Coin base records, it appears that from his Coin base accounts,

     Capuci wi thdrew a total of $4,572 ,79 1.36, which he then deposited into six (6) bank

     accounts under his control. I have summarized these transactions in Exhibit 60. I believe that

     the bank accounts were under Capuci's control because I reviewed records gathered in thi s

     Investigation reflecting that Capuci is the account holder on the accounts. The Capuci bank

     accounts that received such funds were as follows:

   Financial Institution      Account Name              Account Number         Total Amount
   Citibank                Hi Tech Commerce           9147928352            $4,200,533.08
                           & Logistic Corp.
   Wells Fargo Bank        Stephanie Lira and         6598362942            $239,000.00
                           Luiz C. Capuci, Jr.



                                                  9
Case 2:22-cv-14129-KMM Document 8 Entered on FLSD Docket 04/07/2022 Page 10 of 15




   Financial Institution       Account Name               Account Number          Total Amount
   JP Morgan Chase          Hi Tech Commerce            296202093              $50,333 .00
   Bank                     & Logi stic Corp.
   Wells Fargo Bank         Bittech Global Corp.        81 06257663            $30,000.00
   Wells Fargo Bank         Conde Jackson USA           8106257622             $28,000.00
                            Corp.
   PNC Bank, NA             Luiz C. Capuci, Jr.         1244409325             $24,925.28


  23 . According to my analysis and understanding of the Co in base records, $2,955 ,675 was

      wi thdrawn and deposited into PayPal accou nts of Capuci, as reflected in Exhibit 61.

  24. According to my analysis and understanding of the Coin base records, it appears that Capuci

      bought and sold crypto assets with net trading losses totaling $ 173,428.95 , which left a

      calculated balance of$38 ,344. I0 in his Coinbase accounts as of March 18, 2022 , as reflected

      in Exhibits 62 and 57.

  25. The calculated balance in Capuci's Coinbase accounts resulted from the change in value of

     each crypto asset that fluctuates over time, which is reflected in Exhibit 57.

  Pires Coinbase Accou nts

  26. Based upon my review of the Coi nbase records, I determined that Pires opened four (4)

     Coinbase accounts. Another account under Pires 's name listed "Flavio G" as the name on the

     account (5e3370c33092a236432f8dd9), but the records I reviewed reflect that the identity of

     Pires was used to open the account. In addition , from August 19, 2018 through November

      17, 202 1, Pires received crypto assets (i.e., BTC, ETH, USDT, and USD Coin ("USDC"))

     totaling at least $3 ,334,484.17, whi ch I have summarized in Exhibit 63.

  27. According to m y review of the Coin base records, it appears that Pires transferred a net total

     of $1 ,347,001.26 of the funds to two (2) PayPal accounts under his control, which I have

     summarized in Exhibit 64 . I believe that the PayPal accounts are controlled by Pires because

     I reviewed records gathered in this Investigation reflecting that Pires is the account owner

                                                   10
Case 2:22-cv-14129-KMM Document 8 Entered on FLSD Docket 04/07/2022 Page 11 of 15




     and the only one designated to transact on the account(s). The Pires PayPal accounts that

     received funds from Pires's Coinbase accounts were as fo ll ows:


             Pires PayPal Account Number                         Total Amount Received

       1444017275496579535                               $867,980.01

       2032089684451133750                               $479,021.25



  28. According to my review of the Coin base records, it also appears that from Pires's Coin base

     accounts, a total of $1 ,211 ,366.87 was transferred to other digital wallet addresses, as

     reflected in Exhibit 65 .

  29. According to my analysis and understanding of the Coin base records, it appears that Pires

     bought and sold crypto assets that resulted in a net trading loss totaling $547,367.75 , as

     reflected in Exhibit 66.

  30. According to my analysis and understanding of the Coin base records, it appears that Pires

     transferred a total of $245 ,134.02 of the funds to four (4) bank accounts under his control , as

     reflected in Exhibit 67, which I created to summarize such transactions. The Pires bank

     accounts that received funds from Coinbase were as follows:

   Financial Institution      Account Name                Account Number          Total Amount
   JPMorgan Chase           E&J Granite Install         895151665              $190,305.12
   Bank                     LLC
   Wells Fargo Bank         Emerson S Pires and         7994478266             $39,231.8]
                            Camilla Rebelo Pinto
   Suncoast Credit          Emerson Pires               66419410000            $14,717.05
   Union
   PNC Bank                 Emerson Pires               1271341434             $880.04



  31. Based upon records I reviewed in this Investigation, it also appears that Pires transferred $50

     to a bank account in name of "Flavio Goncalves" ("Goncalves"), which left a calculated


                                                   ll
Case 2:22-cv-14129-KMM Document 8 Entered on FLSD Docket 04/07/2022 Page 12 of 15




     balance of $16,435.73 in Pires's Coinbase accounts as of March 18, 2022, which is reflected

      in Exhibit 68 and 57.

  32. The calculated balance in Pires's Coinbase accounts resulted from the change in value of

     each crypto asset that fluctuates over time, whi ch is reflected in Exhibit 57.

  33. Based upon my participation in this Investigation, and documents I have reviewed, I believe

     that Goncalves previously provided information technology support services to MCC.

  Capuci PayPal Accounts

  34. Based upon review of PayPal records, I observed that from March 22, 2006 through January

     30, 2021, Capuci opened nine (9) PayPal accounts.

  35. The PayPal records that I reviewed reflect that between January 25 , 2020 and July 29, 2021 ,

     a total of $2,955,675 of funds deposited into Capuci's PayPal accounts came from Coinbase

     accounts in his name, as reflected in Exhibit 69.

  36. Between May, 17, 2018 and July 2, 2021 , Capuci added a net total of $26,675.67 of funds

     from six (6) different bank accounts into his PayPal accounts, as reflected in Exhibit 70.

     Capuci took advances totaling $12,209.48 from his credit and debit cards that were

     deposited into his PayPal accounts, as reflected in Exhibit 71 . A total of $ 1,415.02 was

     received from individuals identified as investors, as reflected in Exhibit 72. Total payments

     of $508.98 in deposits into Capuci's PayPal accounts came from other unidentified sources,

     as reflected in Exhibit 73. Capuci received a total of $196.98 in cash that was deposited in

     his PayPal accounts, whose source cannot be determined, as reflected in Exhibit 74.

  3 7. Between June 14, 20 19 and February 8, 2022, the PayPal records reflect that Capuci

     withdrew a net total of $2 ,837,732.43 that was transferred to eight (8) bank accounts under

     his control, as reflected in Exhibit 75 . Additionally, Capuci withdrew a total of $80,561.09



                                                  12
Case 2:22-cv-14129-KMM Document 8 Entered on FLSD Docket 04/07/2022 Page 13 of 15




     to a bank account in the name of "VN Carpentry, Inc. ," as reflected in Exhibit 76, which

      apparently constructs and remodels homes.

  38. Between January 26, 2018 and September 3, 2021 , payments were made from Capuci's

     PayPal accounts to various vendors and individuals in the net total amount of $73 ,734.44, as

      reflected in Exhibit 77. I observed that PayPal fees amounted to a net total of 2,750.87, as

     reflected in Exhibit 78, and an unidentified di fference of $1 ,586.03 resulted from the

     difference of the calculated balance in the PayPal accounts of $1 ,586.03 and the actual

     balance of $0 as reflected in Exhibit 57. Fi nally, I observed that Capuci withdrew a total of

      $3 16.27 to a bank account in the name of "Luiza Capuci ," as reflected in Exhibit 91 . Based

     upon my participation in this Investigation and records I reviewed, I believe that Luiza

     Capuci, the minor step-daughter of Stephanie C. Lira, and Stephanie C. Lira, were authorized

     signers on a joint bank account x9045 at Well s Fargo Bank.

  Pires PayPal Accounts

  39. Based upon my review of PayPal records, I observed that between October 23 , 2013 and

     December 12, 2020, Pires opened eleven (11) PayPal accounts. The PayPal records reflect

     that from April 17, 2020 thru August 11 , 202 l , Pires transferred a net total of $ 1,347,00 1.26

     of funds from his Coinbase accounts to his Paypal accounts, as reflected in Exhibit 79 .

  40. Pires added a total of $57,456.24 of funds from six (6) different bank accounts into hi s

     PayPal accounts, as reflected in Exhibit 80 . A total of $40,179 was received from a Pires

     business and a fami ly member's business, as reflected in Exhibit 81. Total payments of

     $3,988.41 came from unidentified sources, as reflected in Exhibit 82. Payments tota ling

     $765.5 1 came from an individual identified as an investor, as reflected in Exhibit 83 . Pires




                                                   13
Case 2:22-cv-14129-KMM Document 8 Entered on FLSD Docket 04/07/2022 Page 14 of 15




      received a total of $29.66 in cash deposits into one (1) different PayPal account, as reflected

      in Exhibit 84 .

  41. The Pires business referred to in paragraph 40 above is "Empires X Corp." I believe, from

     my review of Florida Secretary of State Office records, that this business is associated with

     Pires. The Pires fami ly member' s business is "Unique Counters, LLC." I also believe, based

     upon interviews conducted and my review of Florida Secretary of State Office records, that

     the fami ly member's business is associated with Pires's brother.

  42. The PayPal records reflect that between May 20, 2020 and August 11, 2021 , Pires withdrew

     a total of $593 ,052.06, which was transferred to a bank account in the name of "Flavio

     Goncalves," as reflected in Exhibit 85 . Pires withdrew a net total amount of $490,571.77,

     which was deposited into nine (9) bank accounts under Pires's control, as reflected in

     Exhibit 86. Withdrawals in the total amount of $190,179.68 from Pires's PayPal accounts

     were deposited into bank accounts of Pires's family members, as reflected in Exhibit 87.

     Payments were sent to various vendors and individuals in the net total amount of

     $ 148,505.58, as reflected in Exhibit 88 . Pires 's business (see paragraph 43 below) and

     family member's business (noted in paragraph 41 above) received a total amount of$25 ,310,

     as reflected in Exhibit 89. The remaining monies in the account went to cover PayPal fees ,

     which net totaled $ 1,800.99, as reflected in Exhibit 90.

  43 . The Pires business referred to in paragraph 42 above is "E&J Granite Install , LLC." From

     my review of Florida Secretary of State Office records, I believe that this business is

     associated with Pires .

  Remaining Balances

  44. Based upon my review of records gathered in this Investigation, below are the balances of

     Capuci's and Pires's Coin base and PayPal accounts as of March 18, 2022:

                                                  14
Case 2:22-cv-14129-KMM Document 8 Entered on FLSD Docket 04/07/2022 Page 15 of 15




        Financial           Account Name                Account Number                 Balance
       Institution
   Coinbase               Luiz Capuci            5c3ee702d9e8f214b90f4542      $11.08

   Coinbase               Luiz Capuci Jr         5f7284cfa69a8c l 664 75e646   $0.95

   Coinbase               Emerson Pires          5b58f9680117d80d2da7e345      $5,231.53

   Coinbase               Emerson S. Pires       5e3370c33092a236432f8dd9      $1 ,206.28

   TOTAL                                                                       $6,449.84



  45 . I detem1ined these remaining balances by multiplying the crypto asset value, determined

     from the website Coingecko.com on March 18, 2022, by the units of each crypto asset held

     on that date.



  I declare under penalty of perjury that the foregoing is true and correct.

  Executed on April 5, 2022


                                                         Isl Steven Tremaglio
                                                         STEVEN TREMAGLIO




                                                   15
